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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                                         Case No. A17-61979-JRS
         SARITA TAWANNA ARNOLD

                     Debtor(s)


          STANDING CHAPTER 13 TRUSTEE’S FINAL REPORT AND ACCOUNT

        Nancy Whaley, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The Trustee declares as follows:


         1) The case was filed on 07/10/2017.

         2) The plan was confirmed on 12/13/2017.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan on
11/13/2020, 12/07/2020.

         5) The case was converted on 02/01/2021.

         6) Number of months from filing to last payment: 38.

         7) Number of months case was pending: 43.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $47,540.51.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

           Total paid by or on behalf of the debtor             $39,152.26
           Less amount refunded to debtor                        $3,930.38

NET RECEIPTS:                                                                                   $35,221.88


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                  $4,100.00
    Court Costs                                                                $0.00
    Trustee Expenses & Compensation                                        $2,471.04
    Other                                                                      $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                 $6,571.04

Attorney fees paid and disclosed by debtor:                    $400.00


Scheduled Creditors:
Creditor                                            Claim      Claim           Claim      Principal      Int.
Name                                  Class       Scheduled   Asserted        Allowed       Paid         Paid
CAVALRY SPV I, LLC AS ASSIGNEE OFUnsecured
                                  CAPIT AL ONE BANK
                                                 1,200.00
                                                      (USA), N.A.
                                                                1,129.59       1,129.59         0.00        0.00
DEPART MENT ST ORE NAT IONAL BANKUnsecured         700.00         590.09         590.09         0.00        0.00
FLAGSHIP CREDIT ACCEPT ANCE      Secured        24,212.83      24,212.83      24,212.83    19,501.95    1,765.87
FORD MOT OR CREDIT COMPANY Unsecured                 0.00       9,976.16       9,976.16         0.00        0.00
FORD MOT OR CREDIT COMPANY Secured              21,441.00      11,826.74      11,826.74     7,129.16        0.00
GRADY MEMORIAL HOSPIT AL CORPORATUnsecured
                                        ION      7,403.94       7,403.94       7,403.94         0.00        0.00
LOANCARE                         Secured           253.86         253.86         253.86       253.86        0.00
LVNV FUNDING, LLC                Unsecured            NA        1,449.49       1,449.49         0.00        0.00
LVNV FUNDING, LLC ASSIGNEE OF FNBM,
                                 Unsecured
                                       LLC         800.00         762.54         762.54         0.00        0.00
CREDIT ONE BANK                  Unsecured       1,200.00            NA             NA          0.00        0.00
GM FINANCIAL                     Unsecured       1,181.22            NA             NA          0.00        0.00
MECHANICAL EQUIPMENT COMPANY,    Secured
                                     INC.       37,246.00            NA             NA          0.00        0.00
MINGLEDORFF'S                    Secured         3,435.00            NA             NA          0.00        0.00
GA DOR                           Priority             NA             NA             NA          0.00        0.00
IRS                              Priority             NA             NA             NA          0.00        0.00
SCHEDULED CREDIT OR              Unsecured            NA             NA             NA          0.00        0.00
AMAZON/SYNCB                     Unsecured         700.00            NA             NA          0.00        0.00
WELLS FARGO HOME MORT GAGE Secured                   0.00            NA             NA          0.00        0.00
EAST COAST MET AL DIST RIBUT ORS,Secured
                                   LLC           5,407.03            NA             NA          0.00        0.00
MERRICK BANK                     Unsecured       1,552.00            NA             NA          0.00        0.00
RESOLVE USA                      Unsecured       1,522.07            NA             NA          0.00        0.00
SYNCHRONY BANK/NT B T IRES       Unsecured         650.00            NA             NA          0.00        0.00
YELLOWBOOK SALES & DIST RIBUT IONUnsecured           0.00            NA             NA          0.00        0.00




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 Summary of Disbursements to Creditors:
                                                                   Claim         Principal        Interest
                                                                Allowed              Paid            Paid
 Secured Payments:
       Mortgage Ongoing                                           $0.00             $0.00           $0.00
       Mortgage Arrearage                                       $253.86           $253.86           $0.00
       Debt Secured by Vehicle                               $24,212.83        $19,501.95       $1,765.87
       All Other Secured                                     $11,826.74         $7,129.16           $0.00
 TOTAL SECURED:                                              $36,293.43        $26,884.97       $1,765.87

 Priority Unsecured Payments:
         Domestic Support Arrearage                                $0.00             $0.00         $0.00
         Domestic Support Ongoing                                  $0.00             $0.00         $0.00
         All Other Priority                                        $0.00             $0.00         $0.00
 TOTAL PRIORITY:                                                   $0.00             $0.00         $0.00

 GENERAL UNSECURED PAYMENTS:                                 $21,311.81              $0.00         $0.00

 Disbursements:

          Expenses of Administration                               $6,571.04
          Disbursements to Creditors                              $28,650.84

 TOTAL DISBURSEMENTS :                                                                       $35,221.88


        12) The trustee certifies that the foregoing summary is true and complete and all administrative
matters for which the trustee is responsible have been completed. The trustee requests that the trustee
be discharged and granted such relief as may be just and proper.

Dated: 02/18/2021                                   By: /s/ Nancy Whaley
                                                                           Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                     CERTIFICATE OF SERVICE


Case No. A17-61979-JRS


I certify that on this day I caused a copy of this Trustee's Final Report to be served via United States
First Class Mail with adequate postage prepaid on the following parties at the address shown for each:


Debtor(s):
SARITA TAWANNA ARNOLD
6640 GREENBOWER LANE
ATLANTA, GA 30349

I further certify that I have on this day electronically filed the foregoing Trustee's Final Report using the
Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this document and an
accompanying link to this document to the following parties who have appeared in this case under the
Bankruptcy Court’s Electronic Case Filing program:


Attorney for the Debtor(s):
VALLDEJULI & ASSOCIATES, LLC




This the 18th day of February, 2021.


/s/____________________________________
   Nancy J. Whaley
   Standing Chapter 13 Trustee
   State Bar No. 377941
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201




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